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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

 DELYAN SLAVCHEV PEEVSKI, et al.,

                Plaintiffs,
         v.

 JANET YELLEN, Secretary,                            No. 1:22−cv−02334−TSC
 Department of the Treasury, et al.,

                Defendants.


PLAINTIFFS’ UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO RESPOND
             TO DEFENDANTS’ PARTIAL MOTION TO DISMISS

        Pursuant to Federal Rule of Civil Procedure 6(b), Plaintiffs request a two-week extension

to file a response to Defendants’ Partial Motion to Dismiss (ECF No. 19). The proposed

enlargement of time would extend Plaintiffs’ deadline to respond to the motion to dismiss from

November 14, 2022, to November 28, 2022. Defendants have represented that they do not oppose

the request.

        Plaintiffs seek an enlargement of time to provide sufficient time to prepare a response to a

motion to dismiss. Plaintiffs have not received any prior extension to respond to Defendants’

Partial Motion to Dismiss, and such an extension will not interfere with any hearings or other

deadlines set by the Court.

        WHEREFORE, Plaintiffs respectfully request that the Court extend Plaintiffs’ deadline to

respond to Defendants’ Partial Motion to Dismiss from November 14, 2022, to November 28,

2022.




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Dated: November 10, 2022           Respectfully submitted,

                                   /s/ Patrick A. Harvey
                                   Kenneth J. Nunnenkamp (Bar No. 420914)
                                   Patrick A. Harvey (Bar No. 995570)
                                   Amanda L. Salz (Bar No. 1671976)
                                   1111 Pennsylvania Avenue NW
                                   Washington, DC 20004
                                   Tel: (202) 739-6000
                                   Fax: (202) 739-6001
                                   Email: kenneth.nunnenkamp@morganlewis.com
                                           amanda.salz@morganlewis.com
                                           patrick.harvey@morganlewis.com

                                   Attorneys for Plaintiffs




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